       Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 1 of 11



                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


MICHELLE CLINE and KELLY ENGSTROM,           Index No.: 14 Civ. 4744 (LAK)
Individually and On Behalf Of All Others
Similarly Situated,
                  Plaintiffs,
      v.
TOUCHTUNES MUSIC CORPORATION,
                  Defendant.




     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
    ATTORNEYS’ FEES, REIMBURSEMNT OF EXPENSES, AND PLAINTIFF’S
                         INCENTIVE AWARD




                                           NEWMAN FERRARA LLP
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         Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 2 of 11



       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Plaintiff Michelle Cline

(“Plaintiff”) respectfully submits this memorandum of law in support of her Motion for

Attorneys’ Fees, Expenses, and Plaintiff’s Incentive Award.

                               PRELIMINARY STATEMENT

       Following hard-fought litigation and extensive arm’s-length negotiations, the parties

reached a settlement which addressed the claims deemed viable by the Court and took into

account the benefits and risks associated with continued litigation. The result was that Plaintiff

was able to secure a beneficial settlement for all members of the proposed settlement class (the

“Class”). The Settlement, as fully described in the parties’ Joint Motion for Final Approval, filed

contemporaneously herewith, provides that, in exchange for a release of all claims that were or

could have been brought in this action, TouchTunes will provide Class members with account

credit to use in connection with a TouchTunes digital jukebox. In addition, TouchTunes agreed

to clarify its Terms of Use to make it clear to TouchTunes users that a TouchTunes mobile App

user’s selected song might not play because a user’s selected song may be skipped using a

TouchTunes-branded remote control. TouchTunes further agreed to cover the costs of the notice

program and settlement administration.

       To achieve such a settlement, Plaintiff’s counsel was required to undertake substantial

litigation efforts. After its preliminary investigation, Plaintiff’s counsel filed the original

complaint on June 26, 2014, on behalf of Plaintiff (together with former named plaintiff Kelly

Engstrom). (ECF No. 2). Thereafter, on July 23, 2014, Plaintiff’s counsel filed the First

Amended Complaint following direction from the Court with regard to certain jurisdictional

allegations. (ECF No. 7). On October 22, 2014, Defendant moved to dismiss the First Amended

Complaint and the parties fully briefed the same. (ECF Nos. 12, 16, 17). On January 7, 2015, the



                                                2
         Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 3 of 11



Court dismissed the First Amended Complaint with leave to replead. (ECF No. 18). On January

28, 2015, Plaintiff filed a Second Amended Complaint. (ECF No. 19). On March 3, 2015,

Defendant filed a Motion to Dismiss the Second Amended Complaint, which was fully briefed

by the parties, including additional Court-ordered supplemental briefing. (ECF No. 22, 24, 25,

27, 28). On September 29, 2016, the Court issued an Opinion and Order granting in part and

denying in part TouchTunes’ March 3, 2015 Motion to Dismiss the Second Amended Complaint.

(ECF No. 31).

       Following the Court’s decision, the parties engaged in extensive, arm’s-length settlement

negotiations, which included the informal exchange of information, and ultimately reached a

Settlement in early 2017. Since then the Parties have worked to agree on the terms of a written

agreement, the Class Notice and the Notice Program and procedures. After having agreed upon

all material terms of the Settlement, Defendant agreed to not oppose a combined request for

attorney’s fees and reimbursement of litigation expenses not in excess of $100,000, and an

incentive award for the Plaintiff not in excess of $2,000. Accordingly, in light of the benefit

achieved and Plaintiff’s counsel’s efforts in reaching the Settlement, Plaintiff respectfully

requests that her motion for attorney’s fees and reimbursement of litigation expenses in the

amount of $100,000, in addition to an incentive award in the amount of $2,000, be granted.

                                         ARGUMENT

 I.    Plaintiff’s Attorneys’ Fee and Expense Request is Reasonable

       A. Amount Requested is Reasonable Because it Reflects a Negative Lodestar, was
          Agreed to, and Will Not Reduce Benefits to Class

       “Under Fed.R.Civ.P. 23(h), in a ‘certified class action, court may award reasonable

attorney’s fees and nontaxable costs that are authorized by law or by the parties’ agreement.” In

re Sinus Buster Prod. Consumer Litig., No. 12-CV-2429, 2014 WL 5819921, at *14 (E.D.N.Y.


                                               3
           Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 4 of 11



Nov. 10, 2014). The Court has broad discretion to evaluate the reasonableness of proposed

attorneys’ fees. See In re Bank of New York Mellon Corp. Forex Transactions Litig., 148 F.

Supp. 3d 303, 306 (S.D.N.Y. 2015). Further, courts typically allow counsel to recover reasonable

out-of-pocket expenses incurred in the course of the litigation. See Aboud v. Charles Schwab &

Co., No. 14 CIV. 2712 PAC, 2014 WL 5794655, at *5 (S.D.N.Y. Nov. 4, 2014) (citing In re

Indep. Energy Holdings PLC Sec. Litig., 302 F.Supp.2d 180, 183 n. 3 (S.D.N.Y.2003)).

        In the Second Circuit, attorney’s fees can be calculated using either the lodestar or

percentage of the fund method. See Schwartz v. Intimacy in New York, LLC, No. 13 CV 5735

(PGG), 2015 WL 13630777, at *5 (S.D.N.Y. Sept. 16, 2015). Where the benefit involves both

non-monetary relief and relief not subject to a common fund, the lodestar method generally is the

appropriate metric. Id.1 Where the requested fee represents a discount (or “negative lodestar”),

there is a presumption of reasonableness. See Jermyn v. Best Buy Stores, L.P., No. 08 CIV. 214

CM, 2012 WL 2505644, at *10 (S.D.N.Y. June 27, 2012).2

        In addition, where the amount of attorneys’ fees and reimbursement of expenses are

agreed to, will be paid by the defendant, and will not reduce a common fund, the Court’s

fiduciary role is significantly diminished. Id.at *9 (the danger of conflicts between attorneys and

class members is diminished where the fee award will not reduce the recovery to the class); see


1
     The “lodestar” method involves multiplying the hours billed by an appropriate hourly rate. In re Nissan
Radiator/Transmission Cooler Litig., No. 10 CV 7493(VB), 2013 WL 4080946, at * 15 (S.D.N.Y. May 30, 2013).
Once the initial rate has been determined, a court can in its discretion increase the lodestar by applying a
“multiplier” based on the “risk of the litigation, the complexity of the issues, the contingent nature of the
engagement, the skill of the attorneys, and other factors.” Shapiro v. JPMorgan Chase & Co., No. 11 CIV. 7961
CM, 2014 WL 1224666, at *24 (S.D.N.Y. Mar. 24, 2014) (internal quotation marks and citations omitted).
2
     This Court has indicated that negative lodestar multipliers (those less than 1) are a “strong indication of the
reasonableness of the [requested] fee.” City of Providence v. Aeropostale, Inc., No. 11 CIV. 7132 CM GWG, 2014
WL 1883494, at *13 (S.D.N.Y. May 9, 2014), aff’d sub nom. Arbuthnot v. Pierson, 607 F. App’x 73 (2d Cir. 2015)
(quoting In re Bear Stearns Cos. Sec. Derivative & ERISA Litig., 909 F.Supp.2d 259, 271 (S.D .N.Y. 2012)); In re
Veeco Instruments Inc. Sec. Litig., No. 05 MDL 01695CM, 2007 WL 4115808, at *10 (S.D.N.Y. Nov. 7, 2007)
(noting that a negative lodestar ‘“cross-check’ unquestionably supports” the reasonableness of a requested fee); see
also In re Initial Pub. Offering Sec. Litig., 671 F. Supp. 2d 467, 515 (S.D.N.Y. 2009) (explaining that when there is
a negative lodestar multiplier, “[t]here is […] no real danger of overcompensation”).

                                                         4
          Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 5 of 11



also Dupler v. Costco Wholesale Corp., 705 F. Supp. 2d 231, 243 (E.D.N.Y. 2010) (same); In re

Sony SXRD Rear Projection Television Class Action Litig., No. 06 CIV. 5173, 2008 WL

1956267, at *15 (S.D.N.Y. May 1, 2008) (same); McBean v. City of N.Y., 233 F.R.D. 377, 392

(S.D.N.Y.2006) (same).

        Here, Plaintiff requests, and TouchTunes has agreed to pay, $100,000, inclusive of

attorney’s fees and unreimbursed litigation expenses. This sum will not come from a common

fund and will not reduce the benefit conferred to members of the Class. With regard to fees

alone, Plaintiff’s counsel expended over 318 hours from before the commencement of this action

in June 2014, to October 19, 2017 (i.e., the filing of the parties Notice of Settlement and Joint

Motion for Approval of Notice Program (ECF No. 35)), resulting in overall lodestar of

approximately $181,645.00.3 With regard to unreimbursed litigation expenses, Plaintiff’s counsel

has incurred over $10,542.96.4 Accordingly, even without the expense portion, the requested

amount is reasonable and represents a significant discount (i.e., negative lodestar) in proportion

to the time, effort, and resources expended.

        B. Amount Requested is Reasonable Based on Second Circuit Factors

        In addition to the method used to calculate attorneys’ fees, the amount requested by

Plaintiff is reasonable in light of the guiding criteria in this Circuit. See Goldberger v. Integrated

Resources, Inc., 209 F.3d 43 (2d Cir. 2000). In Goldberger, the Second Circuit instructed courts

look to a “variety of factors including, inter alia: (a) the time and labor expended by counsel; (b)

the magnitude and complexities of the litigation; (c) the risk of the litigation; (d) the quality of



3
     See Lodestar Table included in the Declaration of Jeffrey M. Norton in Support of the parties’ Join Motion for
Final Approval of Class Settlement, and Plaintiff’s Motion for Attorneys’ Fees and Expenses, and Plaintiff’s
Incentive Award (“Norton Decl.”). Total attorney time excludes paralegal and administrative time, and time entered
relating to this motion and the parties joint motion for final approval of the settlement.
4
     See Expense Table included in the Norton Decl. Total expenses exclude administrative costs and legal and
online research.

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         Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 6 of 11



representation; (e) the requested fee in relation to the settlement; and (f) public policy

considerations.” Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 370–71 (S.D.N.Y. 2002)

(citing Goldberger, 209 F.3d at 50). Here, Plaintiff’s request is reasonable in light of the lodestar

method and the Goldberg factors.

           1. The Time and Labor Expended by Plaintiff’s Counsel

       As noted above, the amount of time Plaintiff’s counsel has expenses litigating this case

and negotiating the Settlement is significant. Plaintiff’s counsel’s efforts included a considerable

pre-suit investigation, including work with consultants, drafting and amending the pleadings, and

vigorously briefing and opposing multiple motions to dismiss. In addition, throughout the

settlement process, Plaintiff’s counsel engaged in informal discovery and information exchange

with counsel for TouchTunes. Finally, Plaintiff negotiated a fee that, while resulting in a

negative lodestar multiplier, took into account the benefits achieved for the Class, the post-

motions to dismiss composition of the action, and the risks and benefits of continued litigation.

Under these circumstances, the fee request is more than reasonable and in line with previous

awards by this Court.

           2. The Magnitude and Complexities of the Litigation

       It is well understood by this Court that ‘“[c]lass actions have a well deserved reputation

as being most complex.”‘ Meredith Corp. v. SESAC, LLC, 87 F. Supp. 3d 650, 669 (S.D.N.Y.

2015) (internal quotations omitted) (quoting In re NASDAQ Mkt.-Makers Antitrust Litig., 187

F.R.D. 465, 477 (S.D.N.Y. 1998)). This matter has proven to be no different. Indeed, the law of

the case has been vigorously contested by both parties through a series of motions to dismiss.

Fully litigated issues have included subject matter jurisdiction (i.e., the Class Action Fairness

Act), New York General Business Law § 349, breach of covenant of good faith and fair dealing,



                                                 6
         Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 7 of 11



and unjust enrichment. The wide range of legal issues Plaintiff litigated in this matter, especially

in the context of a nationwide class action, support the granting of Plaintiff’s requested fee.

           3. The Risk of the Litigation

       Plaintiff’s counsel had undertaken significant risks in initiating this suit, including (1)

taking the matter on a contingency fee basis, and (2) the high bar for the factual and legal

showings necessary to prevail. Indeed, “[t]he Second Circuit has recognized that the risk

associated with a case undertaken on a contingent basis is an important factor in determining an

appropriate fee award.” Fleisher v. Phoenix Life Ins. Co., No. 11-CV-8405 (CM), 2015 WL

10847814, at *21 (S.D.N.Y. Sept. 9, 2015) (quoting City of Providence, 2014 WL 1883494, at

*14); see Sakiko Fujiwara v. Sushi Yasuda Ltd., 58 F. Supp. 3d 424, 438–39 (S.D.N.Y. 2014)

(“The fact that counsel here worked on contingency clearly entitles them to some premium for

the risk incurred.”); In re Dreyfus Aggressive Growth Mut. Fund Litig., No. 98 CV 4318 HB,

2001 WL 709262, at *6 (S.D.N.Y. June 22, 2001) (“Contingency risk is the principal […] factor

courts should consider in their determination of attorneys fees.”).

       Second, Plaintiff’s fee application is reasonable based on the litigation risks particular to

this matter. Specifically, Plaintiff has taken into account the uncertain outcome and risk of any

litigation, especially in a complex case such as this, as well as the difficulties and delays inherent

in such litigation. Among other things, Plaintiff would need to overcome certain provisions of

the TouchTunes’ Terms of Use, defenses to the remaining New York General Business Law §

349 violation asserted in the Action, as well as the risks and costs associated with pursuing this

matter through contested class certification, summary judgment, and trial. The Settlement

mitigates these risks, offering Plaintiff and members of the Class meaningful relief in the form of




                                                  7
           Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 8 of 11



account credits and revisions to TouchTunes’ Terms of Use. As such, Plaintiff’s requested fee is

reasonable and justified based on the risk of litigating this matter.

            4. The Quality of Representation

        Plaintiff’s counsel, Newman Ferrara, is a high quality firm with considerable experience

in this type of class and complex litigation.5 In this matter, Plaintiff’s counsel has been able to

secure a respectable settlement providing benefits to many who would otherwise likely received

nothing.

        Similarly, the Court should consider the experience and reputation of opposing counsel.

See In re Top Tankers, Inc. Sec. Litig., No. 06 CIV. 13761 (CM), 2008 WL 2944620, at *16

(S.D.N.Y. July 31, 2008); In re Marsh ERISA Litig., 265 F.R.D. 128, 148 (S.D.N.Y. 2010) (“The

high quality of defense counsel opposing Plaintiffs’ efforts further proves the caliber of

representation that was necessary to achieve the Settlement.”). Here, TouchTunes was

represented by the highly reputable firm of Morrison & Foerster who litigated this matter

vigorously through three motions to dismiss and engaged in hard-fought negotiation efforts with

Plaintiff’s counsel. As such, the quality of representation of both parties warrants Plaintiff’s

requested fee.

            5. The Requested Fee in Relation to the Settlement

        The requested fee is reasonable in light of the Settlement and adequately reflects the

quantity and quality of work provided by counsel. The proposed Settlement provides a credit

(worth up to $3) to each Class member, of which there are estimated to be 451,723.6 In addition

to the distribution of account credits to members of the Class, TouchTunes has agreed to amend


5
    See Newman Ferrara Firm Bio annexed as Exhibit A to the Norton Decl.
6
    There were 285,050 records in the Potential Claims Credit Sub-Class List, and 166,673 records in the
Automatic Credit Sub-Class List, totaling 451,723 potential class members. See Declaration of Jennifer M. Keough
Regarding Notice Administration.

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           Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 9 of 11



its Terms of Use to clarify that TouchTunes mobile App user’s selected song might not play

because a user’s selected song may be skipped using a TouchTunes-branded remote control. This

functionality was previously undisclosed and was the Court’s primary basis for sustaining

Plaintiff’s § 349 claim. Finally, Plaintiff’s counsel persuaded TouchTunes to assume the

significant costs associated with notice and administration of the Settlement. These monetary

and non-monetary benefits are substantial, and justify Plaintiff’s requested fee.7

             6. Public Policy Considerations

          Finally, “[p]ublic policy favors the award of reasonable attorneys’ fees in class action

settlements.” Jermyn, 2012 WL 2505644, at *12; see also In re Nissan Radiator/Transmission

Cooler Litig., 2013 WL 4080946, at *17 (“Public policy favors reasonable attorney fee awards to

encourage attorneys to prosecute merit-based class actions on a contingent fee basis.”). As is

especially true in this matter, “[d]ue to the dispersed, and relatively small, losses among a large

pool of [consumers], the class action mechanism and its associated percentage-of-recovery fee

award solve the collective action problem otherwise encountered by which it would not be

worthwhile for individual [consumers] to take the time and effort to initiate the action.” Hicks v.

Stanley, No. 01 CIV. 10071 (RJH), 2005 WL 2757792, at *9 (S.D.N.Y. Oct. 24, 2005).

    II.   Plaintiff’s Requested Incentive Award is Reasonable

          Plaintiff’s request for an incentive award of $2,000 is reasonable and well within the

range of incentive awards given to class representatives by this Court. This Court has recognized

that “class representatives play a crucial role in bringing justice to those who would otherwise be

hidden from judicial scrutiny.” Asare v. Change Grp. of New York, Inc., No. 12 CIV. 3371 CM,

2013 WL 6144764, at *14 (S.D.N.Y. Nov. 18, 2013). “Incentive awards are not uncommon

7
    Moreover, as noted above, this Court has acknowledged that if “money paid to the attorneys is entirely
independent of money awarded to the class, the Court’s fiduciary role in overseeing the award is greatly reduced,
because there is no conflict of interest between attorneys and class members.” McBean, 233 F.R.D. at 392.

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          Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 10 of 11



in class action cases and are within the discretion of the court.” Raniere v. Citigroup Inc., 310

F.R.D. 211, 220 (S.D.N.Y. 2015) (quoting Ortiz v. Chop’t Creative Salad Co., 89 F.Supp.3d

573, 580 (S.D.N.Y.2015)).

          Plaintiff’s proposed incentive award is well within the normal range of awards granted by

this Court. See Dial Corp. v. News Corp., 317 F.R.D. 426, 439 (S.D.N.Y. 2016) (“Awards on an

individualized basis have generally ranged from $2,500 to $85,000.”). For example, in Gattinella

v. Kors, No. 14CV5731, 2016 WL 690877, at *2 (S.D.N.Y. Feb. 9, 2016), the Court awarded the

plaintiff an incentive award of $2,500 for “(1) submitting to interviews with Class Counsel; (2)

locating and forwarding relevant responsive documents and information; and (3) participating in

conferences with Class Counsel.” Here, Plaintiff engaged in identical behavior. Plaintiff

maintained regular communication with counsel and aided counsel in fact gathering and case

development. Additionally, as with attorneys’ fees, Plaintiff’s incentive award will be paid by

Defendant directly, not from the common fund. Courts have looked favorably on incentive

awards that do not diminish the common fund. See, e.g., Dupler, 705 F. Supp. 2d at 246

(E.D.N.Y. 2010). Accordingly, the Court should grant Plaintiff’s request for an incentive award

of $2,000.

   III.      CONCLUSION

          For the foregoing reasons, Plaintiff respectfully submits that the Court should approve an

award of fees and expenses to Plaintiff’s counsel in the amount of $100,000.00 and an incentive

award to Plaintiff in the amount of $2,000.




                                                  10
      Case 1:14-cv-04744-LAK Document 43 Filed 03/09/18 Page 11 of 11




DATED: New York, New York
       March 9, 2018
                                         Respectfully submitted,

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                                    11
